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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

 Civil Action No.: 17-cv-2455-PAB-KHR

 JESSICA CAMPBELL,

        Plaintiff,

  v.


 DONALD J. TRUMP, President of the United States;
 ALEX M. AZAR II, Secretary of Health and Human Services;
 R. ALEXANDER ACOSTA, Secretary of Labor; and
 STEVEN MNUCHIN, Secretary of the Treasury,

        Defendants.1


                       JOINT CASE MANAGEMENT PLAN FOR PETITION
                              FOR REVIEW OF AGENCY ACTION



 1.     APPEARANCES OF COUNSEL


                                                     For Plaintiff:

                                                     ALAN KENNEDY-SHAFFER, ESQUIRE
                                                     1975 North Grant Street, #421
                                                     Denver, CO 80203
                                                     Telephone: (303) 345-3397
                                                     Email: alan.kennedy-shaffer@aya.yale.edu

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                                                     Denver, CO 80222
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                                                     Email: joeljudd@joeljudd.com


        1Pursuant to Federal Rule of Civil Procedure 25(d), Alex M. Azar II is substituted as a
 defendant in his official capacity as Secretary of Health and Human Services.
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                                                      For Defendants:

                                                      REBECCA M. KOPPLIN
                                                      Trial Attorney
                                                      United States Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      20 Massachusetts Ave. NW
                                                      Washington, D.C. 20001
                                                      Telephone: (202) 514-3953
                                                      Facsimile: (202) 616-8202
                                                      Email: Rebecca.M.Kopplin@usdoj.gov

 2.     STATEMENT OF LEGAL BASIS FOR SUBJECT MATTER JURISDICTION

 Plaintiff’s Statement
 As discussed in Plaintiff’s Complaint for Declaratory and Injunctive Relief, ECF No. 1, the Court
 has jurisdiction based on the presentation of a federal question under Article III of the
 Constitution and 28 U.S.C. §§ 1331, 1346, and 1361, regarding Constitutional and statutory
 violations of the First and Fifth Amendments to the Constitution, and the Administrative
 Procedure Act. Plaintiff’s claims for declaratory and injunctive relief are authorized by 28 U.S.C.
 §§ 2201 and 2202, 5 U.S.C. § 702, and Federal Rules of Civil Procedure 57 and 65, and
 inherent equitable powers of this Court. Defendants’ sovereign immunity is waived under 5
 U.S.C. § 702. Venue is proper in this district under 28 U.S.C. § 1391 and 5 U.S.C. § 703.
 Defendants’ challenge to standing and ripeness is both untimely, as discussed in Plaintiff’s
 Motion to Strike, ECF No. 11, and also clearly without merit, as discussed in Plaintiff’s
 Opposition to Motion to Dismiss, ECF No. 12.

 Defendants’ Statement
 As further discussed in Defendants’ Motion to Dismiss, ECF No. 9, the Court lacks subject-matter
 jurisdiction because Plaintiff does not have standing. In addition, as also discussed in
 Defendants’ Motion to Dismiss, Plaintiff’s claims are not ripe.

 3.     DATES OF FILING OF RELEVANT PLEADINGS

        A.    Date Complaint Was Filed:
        October 13, 2017

        B.      Date Complaint Was Served on U.S. Attorney's Office:

        Plaintiff’s Statement
        As discussed in Plaintiff’s Motion to Strike, ECF No. 11, and Plaintiff’s Reply to
        Defendants’ Opposition to Plaintiff’s Motion to Strike, ECF No. 15, the Complaint was

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        served on U.S. Attorney’s Office, U.S. Attorney General’s Office, and Defendants, on
        October 14, 2017. Defendants’ motion to dismiss, filed December 18, 2017, is untimely
        because it failed to meet the 60-day period set forth in Federal Rule of Civil Procedure
        12(a)(2) which began with service by mail of the U.S. Attorney, Attorney General, and
        Defendants, on October 14, 2017. Service was, in law and fact, complete upon certified
        mailing on October 14, 2017. Defendants rely on an incorrect date of service, apparently
        to justify Defendants’ negligence in failing to respond to the Complaint within 60 days.

        Defendants’ Statement
        As further discussed in Defendants’ Opposition to Plaintiff’s Motion to Strike, ECF No. 13,
        the U.S. Attorney’s Office received the Complaint by mail on October 17, 2017, and thus
        Defendants were served on that date.

        C.    Date Answer or Other Response Was Filed:
        Defendants’ Motion to Dismiss was filed December 18, 2017.

 4.     STATEMENT(S) REGARDING WHETHER THIS CASE RAISES UNUSUAL
        CLAIMS OR DEFENSES

 Plaintiff’s Statement
 Plaintiff believes that Defendants’ Motion to Dismiss is both untimely and without merit, and
 should be denied, and Defendants held in default for failing to timely respond to the Complaint. In
 the event Plaintiff’s Motion to Strike is not granted in full, and Defendants held in default, Plaintiff
 believes this case should proceed in consideration of the Constitutional violations under the First
 and Fifth Amendments, statutory violations of the Administrative Procedure Act, with Defendants
 filing an Answer and the Administrative Record prior to proceeding with supplementing the record.
 The Order and Opinion in Pennsylvania v. Trump, No. 2:17-cv-4540 (E.D. Pa. Dec. 15, 2017), and
 the Order in California v. Health and Human Services, No. 4:17-cv-5783 (N.D. Ca. Dec. 21, 2017),
 indicate how other jurisdictions have proceeded with these issues.

 Defendants’ Statement
 Defendants believe this case should be dismissed for lack of subject-matter jurisdiction. In the
 event Defendants’ Motion to Dismiss is not granted in full, Defendants believe this case should
 proceed as a typical record review case with Defendants filing an Answer and then an
 Administrative Record. In no event should Defendants be “held in default,” a suggestion which
 Plaintiff notably did not raise in the briefing concerning the Motion to Strike. See, e.g., Proposed
 Order, ECF No. 11-1 (proposing that the Court order “that the Motion to Strike is GRANTED and
 Defendants’ Motion [to Dismiss] is DENIED”).

 5.     OTHER MATTERS

 N/A


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 6.    PROPOSED BRIEFING SCHEDULE

       A.    Deadline for Filing Administrative Record:
             The Deadline for Filing the Administrative Record shall be 30 days from the date of
             the Answer, which is due to be filed 14 days after the Court rules on the pending
             Motion to Dismiss. When possible, the record shall be filed in a searchable
             electronic format, i.e., .pdf.

       B.    Deadline for Parties to Confer on Record Disputes:
             The Deadline for Parties to Confer on Record Disputes shall be 30 days from the
             date the Administrative Record is filed.

       C.    Deadline for Filing Motions to Complete and/or Supplement the
             Administrative Record:
             The Deadline for Filing Motions to Complete and/or Supplement the Administrative
             Record shall be 30 days from the Deadline for Parties to Confer on Record
             Disputes. Response and Reply deadlines for such motions are governed by
             D.C.COLO.L.Civ.R. 7.1(C). The parties should review and familiarize themselves
             with the Court’s decisions in CNE v. Salazar, 711 F. Supp.2d 1267; and Wild Earth
             Guardians v. USFS, 713 F.Supp.2d 1243.

       D.    Petitioner's Opening Brief Due:
             Petitioner’s Opening Brief is due 30 days after the Deadline for Filing Motions to
             Complete and/or Supplement the Administrative Record. If there are challenges to
             the record, the briefing schedule will be modified accordingly.

       E.    Respondent's Response Brief Due:
             Respondent’s Response Brief is due 30 days after the filing of Petitioner’s Opening
             Brief.

       F.    Petitioner’s Reply Brief (If Any) Due:
             Petitioner’s Reply Brief is due 15 days after the filing of Respondent’s Response.

             Defendants’ Statement
             Defendants request the opportunity to file a reply brief addressing Petitioner’s
             Reply Brief, which would be due 15 days after the filing of Petitioner’s Reply Brief.

             Plaintiff’s Statement
             Plaintiff opposes Defendants’ request to Reply to Reply brief, and requests that
             Defendants’ request be denied. If the burden of proof is on the Plaintiff, then equity
             requires that the Plaintiff have the last word, in the form of Plaintiff’s Reply brief.

 7. STATEMENTS REGARDING ORAL ARGUMENT

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 Plaintiff’s Statement
 Plaintiff requests oral argument, given the Constitutional and statutory violations at issue here. On
 this point, the Court is directed to Pennsylvania v. Trump, No. 2:17-cv-4540 (E.D. Pa. Dec. 15,
 2017), and California v. Health and Human Services, No. 4:17-cv-5783 (N.D. Ca. Dec. 21, 2017).

 Defendants’ Statement
 Defendants defer to the Court’s discretion, and stand ready to present oral argument if the Court
 believes that argument would be helpful to resolve this case.

 8. CONSENT TO EXERCISE OF JURISDICTION BY MAGISTRATE JUDGE

                            Indicate below the parties' consent choice.

        A.      ( )     All parties have consented to the exercise of jurisdiction of a
                        United States Magistrate Judge.

        B.      (X)     All parties have not consented to the exercise of jurisdiction of a
                        United States Magistrate Judge.

 9. OTHER MATTERS

 Parties filing motions for extension of time or continuances will comply with Fed. R. Civ. P. 5(d)(1)
 and D.C.COLO.LCivR 5.1(d) by serving a copy of the motion through electronic service upon all
 attorneys of record and by U.S. mail on all pro se parties, certified by the Notice of Electronic
 Filing. Parties filing motions for extension of time or continuances must comply with
 D.C.COLO.LCivR 6.1(c) by serving such motion on the moving attorney’s client.

 10. AMENDMENTS TO JOINT CASE MANAGEMENT PLAN

 The parties agree that the Joint Case Management Plan may be altered or amended only upon a
 showing of good cause.

        DATED February ___,
                       16 2018.


                                                        BY THE COURT:


                                                        s/Philip A. Brimmer
                                                        PHILIP A. BRIMMER
                                                        United States District Judge


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 APPROVED:


 /s/ Alan Kennedy-Shaffer                             CHAD A. READLER
     ALAN KENNEDY-SHAFFER, ESQUIRE                    Acting Assistant Attorney General
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                                                      /s/ Rebecca M. Kopplin
   ATTORNEYS FOR PLAINTIFF                            REBECCA M. KOPPLIN
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                                                      ATTORNEYS FOR DEFENDANTS




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                                     CERTIFICATE OF SERVICE

 I hereby certify that on this day, February 16, 2018, I electronically filed the foregoing with the
 Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 following email addresses:

        alan.kennedy-shaffer@aya.yale.edu               (Representing Plaintiff)
        joeljudd@joeljudd.com                           (Representing Plaintiff)
        rebecca.m.kopplin@usdoj.gov                     (Representing Defendants)

 Dated: February 16, 2018                               /s/ Rebecca M. Kopplin
                                                        REBECCA M. KOPPLIN




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